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                                  1                                UNITED STATES DISTRICT COURT
                                  2                               CENTRAL DISTRICT OF CALIFORNIA

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                                  5       Nona Gaprindashvili,                      Case No. 2:21-cv-07408-VAP-SKx
                                  6                        Plaintiff,
                                                                                       Order DENYING Motion to
                                  7                       v.                        Dismiss and DENYING Motion to
                                  8       Netflix, Inc.; Does 1–50
                                                                                                Strike
                                                                                               (Dkt. 21)
                                  9                       Defendants.
                                 10
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                                 11
                                 12       Before the Court is Defendant Netflix, Inc.’s Motion to Dismiss or Strike
                                 13   (“Motion”) Plaintiff Nona Gaprindashvili’s First Amended Complaint (“FAC”)
                                 14   pleading claims of false light or in the alternative, defamation. (Dkt. 11).
                                 15
                                 16       After considering all the papers filed in support of, and in opposition to,
                                 17   the Motion, the Court deems this matter appropriate for resolution without a
                                 18   hearing pursuant to Local Rule 7-15. The Court DENIES the Motion.
                                 19
                                 20                                 I.    BACKGROUND
                                 21       This action arises from a statement made about Plaintiff Nona
                                 22   Gaprindashvili in the popular Netflix miniseries, The Queen’s Gambit
                                 23   (“Series”). (FAC ¶ 1). The Court bases the following summary on the
                                 24   allegations in Plaintiff's complaint.
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                                  1       Plaintiff is a trailblazing woman chess player, who throughout her career
                                  2   won many championships, defeated some of the best male chess players in
                                  3   the world, and became the first woman in history to achieve the status of
                                  4   international chess grandmaster among men. (Id. ¶ 2).
                                  5
                                  6       In 1983, author Walter Tevis wrote a novel entitled The Queen’s Gambit
                                  7   (“Novel”), on which the Series is based. (Id. ¶¶ 3, 5). The Novel’s main
                                  8   characters are fictional, but it references a few real chess players, including
                                  9   a passing reference to Plaintiff in the context of the fictional Moscow
                                 10   Invitational chess tournament. (Id. ¶ 3). The Series, like the Novel, tells the
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                                 11   story of a fictional American woman named Elizabeth Harmon (“Beth
                                 12   Harmon” or “Harmon”), an orphan who rises from humble beginnings to
                                 13   become a great chess player. (Id. ¶¶ 3, 5). The story, set in the 1960s,
                                 14   portrays the systemic sexism of the time and the “prevailing view of the era
                                 15   that there was no place for women at the highest echelons of chess.” (Id.
                                 16   ¶¶ 4, 38). The Series culminates in a fictional chess tournament, the
                                 17   Moscow Invitational, which Harmon receives an invitation to participate in
                                 18   after her triumph in the U.S. Championship. (Id. ¶ 41; Motion at 3).
                                 19   Significantly, the fictional Moscow Invitational takes place in 1968. (FAC
                                 20   ¶ 7).
                                 21
                                 22       In the first round of the tournament, Harmon plays against fictional
                                 23   chess player Victor Laev, an older male player who Harmon had long
                                 24   admired. (Id. ¶ 41). After the match between Harmon and Laev ends, the
                                 25   announcer for the tournament, in a voice-over commentary, comments on
                                 26   Harmon’s gender to make the point that the male players in the tournament

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                                  1   did not take Harmon seriously as an opponent. (Id. ¶ 42). The announcer
                                  2   states the following:
                                  3
                                            [The male players believe] Harmon’s level of play wasn’t at
                                  4
                                            theirs. Someone like Laev probably didn’t spend a lot of time
                                  5         preparing for their match. Elizabeth Harmon’s not at all an
                                            important player by their standards. The only unusual thing
                                  6         about her, really, is her sex. And even that’s not unique in
                                  7         Russia. There’s Nona Gaprindashvili, but she’s the female
                                            world champion and has never faced men. My guess is
                                  8         Laev was expecting an easy win, and not at all the 27-move
                                            thrashing Beth Harmon just gave him.
                                  9
                                 10
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                                          (Id. ¶ 42 (emphasis in original)). As Plaintiff’s name is mentioned, an
                                 11
                                      actor is shown sitting in the audience who is obviously meant to be Plaintiff.
                                 12
                                      (Id. ¶ 43). This language, particularly the line referencing Plaintiff (“but
                                 13
                                      [Nona Gaprindashvili] . . . has never faced men”) (“Line”) is the subject of
                                 14
                                      the lawsuit.
                                 15
                                 16
                                          The Line appears to be based on similar text from the Novel, which
                                 17
                                      reads:
                                 18
                                 19
                                            As far as they knew, [Harmon’s] level of play was roughly that
                                 20         of Benny Watts, and men like Laev would not devote much time
                                            to preparation for playing Benny. She was not an important
                                 21         player by their standards; the only unusual thing about her was
                                 22         her sex; and even that wasn’t unique in Russia. There was
                                            Nona Gaprindashvili, not up to the level of this tournament,
                                 23         but a player who had met all these Russian Grandmasters
                                            many times before. Laev would be expecting an easy win.
                                 24
                                 25
                                          (Id. ¶ 62).
                                 26

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                                  2      The statement that Plaintiff herself had “never faced men,” even by
                                  3   1968, is inaccurate.1 (Id. ¶ 18; Motion at 3). Beginning in 1962 and 1963,
                                  4   Plaintiff competed against and frequently defeated male chess players. In
                                  5   1965, “she played 28 male players at once.”2 (FAC ¶ 18). Plaintiff began
                                  6   playing chess at the age of thirteen and proceeded to have an extraordinary
                                  7   and successful career. She won the semi-final of the Women’s Soviet Union
                                  8   Championship at the age of fourteen. In 1961, she became female World
                                  9   Champion at the age of 20. (Id. ¶ 16). She participated in and won medals
                                 10   in Chess Olympiads internationally and faced and defeated men in
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                                 11   significant chess tournaments, many of which garnered international
                                 12   attention. (Id. ¶¶ 17, 21–26; Decl. of Gaprindashvili (“Gaprindashvili Decl.”),
                                 13   Dkt. 28-1 at 4–7 (enumerating accomplishments)). In fact, by 1968, the
                                 14   year in which the episode is set, she had competed against at least 59 male
                                 15   chess players, at least ten of which were Grandmasters of that time,
                                 16   including Dragoljub Velimirovich, Svetozar Gligoric, Paul Keres, Bojan
                                 17   Kurajica, Boris Spassky and Mikhail Tal. The last three were also world
                                 18   champions during their careers. (FAC ¶ 7). Plaintiff later became the first
                                 19   woman in history to be awarded the honor and rank of International Chess
                                 20   Grandmaster among men. (Id. ¶ 28).
                                 21
                                 22      1
                                           Netflix concedes as much but argues that the Line is fiction and thus not
                                 23      understood to be conveying a fact. (Motion at 2). Netflix additionally argues
                                         for a substantial truth defense because the difference between having faced
                                 24      men by 1963 versus 1968 amounts to only a minor inaccuracy. (Id. at 3).
                                         Both these issues are discussed infra.
                                 25
                                         2
                                           The FAC shows an image of Plaintiff on one side of a row of men, playing
                                 26      individual chess games down the row of men.

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                                  1       During Plaintiff’s career, she encountered severe prejudice because she
                                  2   was a woman—and often the only woman—competing amongst men. (Id.
                                  3   ¶ 19). In 1976, Plaintiff wrote a book in which she described her devotion to
                                  4   chess, the difficulty she faced in overcoming barriers as a woman in that
                                  5   world, and her pride for the part she played in advancing gender equality in
                                  6   the chess world. (Id. ¶ 20 (“The term ‘Women’s chess’ has expired. I am
                                  7   proud that I have my share in promoting the creative emancipation of
                                  8   women in chess. I had my share in helping women to overcome
                                  9   psychological barriers separating them from ‘man’s chess.’”)). Plaintiff is
                                 10   well-known in the chess world and was the subject of many news stories
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                                 11   about her accomplishments in tournaments. (Id. ¶¶ 24, 25). Plaintiff also
                                 12   alleges she is the subject of a film that portrayed her as a “woman who
                                 13   helped revolutionize female chess by taking on male competitors across the
                                 14   globe” and in which she “became a Georgian icon of female emancipation.”
                                 15   (Id. ¶ 30).
                                 16
                                 17       Netflix released all seven episodes of the Series on October 23, 2020.
                                 18   The final episode, “End Game,” contains the scene that features the Line.
                                 19   (Id. ¶ 34). On November 23, 2020, Netflix announced that the Series had
                                 20   been watched by 62 million households since its release. The Series
                                 21   topped the United States television Nielsen’s streaming rankings for three
                                 22   straight weeks, the first series in history to do so. (Id.).
                                 23
                                 24       When the Series aired, multiple news outlets and various individual
                                 25   internet users commented on the inaccuracy of the Line. (Id. ¶¶ 48–58).
                                 26   Plaintiff states that the Line “misrepresented one of [her] most significant

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                                  1   career achievements . . . before millions of viewers worldwide” and
                                  2   “tarnished [her] personal and professional reputation.” (Gaprindashvili Decl.
                                  3   at 9).3 To this day, Plaintiff continues to compete in chess tournaments and
                                  4   receive accolades for her accomplishments. (FAC ¶ 31). Plaintiff’s life-long
                                  5   career is in the world of competitive chess, in which she remains an active
                                  6   leader, role-model, and competitor. (Id. ¶ 77). Plaintiff contends that the
                                  7   Line cuts to the heart of her hard-won standing in her profession and as a
                                  8   result, injures her current participation in the chess world and ability to earn
                                  9   income from that participation. This “remains tied to her historical success
                                 10   and accomplishments. The professional reputation and brand of
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                                 11   Gaprindashvili was inextricably bound up with her courageous efforts to face
                                 12   and defeat estimable male opponents when chess was overwhelmingly a
                                 13   man’s world.” (Id. ¶ 77).
                                 14
                                 15       Plaintiff filed suit against Netflix and Does 1–50 on September 16, 2021
                                 16   and filed the First Amended Complaint (“FAC”) on September 20, 2021.
                                 17   (Compl., Dkt. 1; FAC, Dkt. 11). Plaintiff brings claims for false light invasion
                                 18   of privacy (FAC ¶¶ 69–75), or in the alternative, defamation per se (FAC
                                 19   ¶¶ 76–81). Netflix moved to dismiss under Federal Rule of Civil Procedure
                                 20   Rule 12(b)(6), or to strike under California’s anti-SLAPP statute, California
                                 21   Code of Civil Procedure section 425.16. (Def. Mot. to Dismiss or Strike
                                 22   (“Motion”), Dkt. 21). Plaintiff opposed the Motion, and Netflix filed a Reply.
                                 23   (Pl. Opp. (“Opp.”), Dkt. 28; Def. Reply (“Reply”), Dkt. 29).
                                 24
                                 25      3
                                           For ease of reference, the Court uses the page numbering given by the
                                         electronic filing system for the Gaprindashvili Declaration. All other page
                                 26      references utilize internal page numbering.

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                                  2                             II.   MOTION TO DISMISS
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                                  4     A. Legal Standard
                                  5         Federal Rule of Civil Procedure 12(b)(6) allows a party to bring a mo-
                                  6   tion to dismiss for failure to state a claim upon which relief can be granted.
                                  7   Rule 12(b)(6) is read along with Rule 8(a), which requires a short, plain
                                  8   statement upon which a pleading shows entitlement to relief. Fed. R. Civ.
                                  9   P. 8(a)(2); Conley v. Gibson, 355 U.S. 41, 47 (1957) (holding that the Fed-
                                 10   eral Rules require a plaintiff to provide “‘a short and plain statement of the
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                                 11   claim’ that will give the defendant fair notice of what the plaintiff’s claim is
                                 12   and the grounds upon which it rests” (quoting Fed. R. Civ. P. 8(a)(2)).); Bell
                                 13   Atl. Corp. v Twombly, 550 U.S. 544, 555 (2007). When evaluating a Rule
                                 14   12(b)(6) motion, a court must accept all material allegations in the com-
                                 15   plaint—as well as any reasonable inferences to be drawn from them—as
                                 16   true and construe them in the light most favorable to the non-moving party.
                                 17   See Doe v. United States, 419 F.3d 1058, 1062 (9th Cir. 2005); ARC Ecol-
                                 18   ogy v. U.S. Dep’t of Air Force, 411 F.3d 1092, 1096 (9th Cir. 2005); Moyo v.
                                 19   Gomez, 32 F.3d 1382, 1384 (9th Cir. 1994). “The court need not accept as
                                 20   true, however, allegations that contradict facts that may be judicially noticed
                                 21   by the court.” Schwarz v. United States, 234 F.3d 428, 435 (9th Cir. 2000).
                                 22
                                 23         “While a complaint attacked by a Rule 12(b)(6) motion to dismiss
                                 24   does not need detailed factual allegations, a plaintiff’s obligation to provide
                                 25   the ‘grounds’ of his ‘entitlement to relief’ requires more than labels and con-
                                 26   clusions, and a formulaic recitation of the elements of a cause of action will

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                                  1   not do.” Twombly, 550 U.S. at 555 (citations omitted). Rather, the allega-
                                  2   tions in the complaint “must be enough to raise a right to relief above the
                                  3   speculative level.” Id. To survive a motion to dismiss, a plaintiff must allege
                                  4   “enough facts to state a claim to relief that is plausible on its face.”
                                  5   Twombly, 550 U.S. at 570; Ashcroft v. Iqbal, 556 U.S. 662, 697 (2009).
                                  6   “The plausibility standard is not akin to a ‘probability requirement,’ but it
                                  7   asks for more than a sheer possibility that a defendant has acted unlawfully.
                                  8   Where a complaint pleads facts that are ‘merely consistent with’ a defend-
                                  9   ant’s liability, it stops short of the line between possibility and plausibility of
                                 10   ‘entitlement to relief.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at
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                                 11   556).
                                 12
                                 13           The Ninth Circuit has clarified that: (1) a complaint must “contain suffi-
                                 14   cient allegations of underlying facts to give fair notice and to enable the op-
                                 15   posing party to defend itself effectively” and (2) “the factual allegations that
                                 16   are taken as true must plausibly suggest an entitlement to relief, such that it
                                 17   is not unfair to require the opposing party to be subjected to the expense of
                                 18   discovery and continued litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th
                                 19   Cir. 2011). Although the scope of review is limited to the contents of the
                                 20   complaint, the Court may also consider exhibits submitted with the com-
                                 21   plaint, Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542,
                                 22   1555 n.19 (9th Cir. 1990), and “take judicial notice of matters of public rec-
                                 23   ord outside the pleadings,” Mir v. Little Co. of Mary Hosp., 844 F.2d 646,
                                 24   649 (9th Cir. 1988).
                                 25
                                 26     B. False Light

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                                  1       To state a claim for false light invasion of privacy, Plaintiff must
                                  2   demonstrate: (1) disclosure to one or more persons (2) information about or
                                  3   concerning Plaintiff presented as factual but that was actually false or
                                  4   created a false impression about him; (3) that was highly offensive and
                                  5   would injure Plaintiff’s reputation; (4) constitutional malice; and (5) Plaintiff
                                  6   suffered damages as a result. Solano v. Playgirl, Inc., 292 F.3d 1078, 1082
                                  7   (9th Cir. 2002) (applying California law). California courts have taken the
                                  8   view that since false light is a division of invasion of privacy tort, the claim
                                  9   must relate to the plaintiff's interest in privacy, and hence cannot involve
                                 10   matters, however offensively misrepresented to the public, which are in
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                                 11   essence “public” themselves. Patton v. Royal Indus., Inc., 263 Cal.App.2d
                                 12   760, 768 (1968). Here, where the challenged statements were exclusively
                                 13   related to Plaintiff’s public professional life, she fails to plead that the
                                 14   publication of these statements “intrudes into [her] private li[fe].” Id.
                                 15   Because Plaintiff fails to state a claim for false light invasion of privacy, that
                                 16   claim is DISMISSED with prejudice.4
                                 17
                                 18     C. Defamation Per Se
                                 19       To establish a claim for defamation, Plaintiff must plead (a) a publication
                                 20   that is (b) false, (c) defamatory, and (d) unprivileged and that (e) has a
                                 21
                                 22      4
                                           Plaintiff pleads false light as an alternative theory of liability to the second
                                 23      cause of action for defamation per se. (FAC ¶ 21). Plaintiff’s defamation
                                         claim, based on the same facts, provides a complete remedy for any dam-
                                 24      ages Plaintiff suffered by the alleged conduct. See Selleck v. Globe Int’l,
                                         Inc., 166 Cal. App. 3d 1123, 1129, 1136 (1985) (affirming denial of false light
                                 25      claim which was in substance equivalent to libel claim). Further, given the
                                         claims are entirely based on Plaintiff’s public, rather than private, life,
                                 26      amendment would be futile. See Foman v. Davis, 371 U.S. 178, 182.

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                                  1   natural tendency to injure or that causes special damage. Taus v. Loftus, 40
                                  2   Cal. 4th 683, 720 (2007). As a public figure, Plaintiff must also plead the
                                  3   requisite constitutional malice. Reader’s Dig. Assn. v. Superior Ct., 37 Cal.
                                  4   3d 244, 256 (1984) (citing New York Times Co. v. Sullivan, 376 U.S. 254,
                                  5   280 (1964)). “Defamation is effected by either of the following: (a) Libel. (b)
                                  6   Slander.” Cal Civ. Code § 44. In California, defamation in a television
                                  7   broadcast is treated as slander. Arno v. Stewart, 245 Cal. App. 2d 955, 961
                                  8   (1966). Slander per se is actionable without proof of special damages. Cal.
                                  9   Civ. Code § 46. Slander per se includes such publications which tend to
                                 10   injure a plaintiff with respect to their “office, profession, trade or business,
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                                 11   either by imputing to [plaintiff] general disqualification in those respects
                                 12   which the office or other occupation peculiarly requires, or by imputing
                                 13   something with reference to his office, profession, trade, or business that
                                 14   has a natural tendency to lessen its profits.” Cal. Civ. Code § 46(3). If a
                                 15   plaintiff establishes the Line injured her with respect to her profession or
                                 16   trade, this is sufficient to establish slander per se under section 46(3) and
                                 17   does not require proof of actual damage. Id.
                                 18
                                 19       Netflix contends that Plaintiff fails to plead the elements of this claim,
                                 20   specifically arguing that: (1) Plaintiff fails to plead falsity because a
                                 21   reasonable viewer would not believe the Line conveyed an objective fact;
                                 22   (2) the Line is not defamatory because it contains no defamatory
                                 23   implication, or because a reasonable viewer would not see the defamatory
                                 24   implication because it relies on information that is not common knowledge;
                                 25   (3) the Line falls under the “substantial truth” defense; and (4) Plaintiff
                                 26   cannot plead the requisite “actual malice.” (Motion at 3).

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                                  2       1. Falsity – Whether the Line Conveyed Objective Fact
                                  3       To state a defamation claim, a plaintiff must present a statement of fact
                                  4   that is provably false. Seelig v. Infinity Broad. Corp., 97 Cal. App. 4th 798,
                                  5   809 (2002) (citing Milkovich v. Lorain Journal Co., 497 U.S. 1, 20 (1990)).
                                  6   “Whether published material is reasonably susceptible of an interpretation
                                  7   which implies a provably false assertion of fact . . . is a question of law for
                                  8   the court.” Couch v. San Juan Unified Sch. Dist., 33 Cal. App. 4th 1491,
                                  9   1500 (1995). “This question must be resolved by considering whether the
                                 10   reasonable or ‘average’ reader would so interpret the material.” Id.
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                                 11   “Statements do not imply a provably false factual assertion and thus cannot
                                 12   form the basis of a defamation action if they cannot reasonably [be]
                                 13   interpreted as stating actual facts about an individual.” Nygard, Inc. v. Uusi-
                                 14   Kerttula, 159 Cal. App. 4th 1027, 1048 (2008) (internal quotations omitted).
                                 15
                                 16       Netflix argues that no reasonable viewer would have understood the
                                 17   Line to convey a statement of fact because the Series is an entirely fictional
                                 18   work. (Motion at 12). Netflix points to various cases for the proposition that
                                 19   “[f]ictional works have no obligation to the truth.” (Motion at 12 (quoting
                                 20   Sarver v. Hurt Locker LLC, No. 2:10-CV-09034-JHN (JCx), 2011 WL
                                 21   11574477, at *8 (C.D. Cal. Oct. 13, 2011), aff’d sub nom. Sarver v. Chartier,
                                 22   813 F.3d 891 (9th Cir. 2016))).
                                 23
                                 24       As an initial matter, Netflix does not cite, and the Court is not aware, of
                                 25   any cases precluding defamation claims for the portrayal of real persons in
                                 26   otherwise fictional works. On the contrary, the fact that the Series was a

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                                  1   fictional work does not insulate Netflix from liability for defamation if all the
                                  2   elements of defamation are otherwise present. See Bindrim v. Mitchell, 92
                                  3   Cal. App. 3d 61, 73 n.2, 76 (1979), cert. denied, 444 U.S. 984 (1979),
                                  4   disapproved of on other grounds by McCoy v. Hearst Corp., 42 Cal. 3d 835
                                  5   (1986) (fictional character in the novel was identifiable as the real person);
                                  6   see also Partington v. Bugliosi, 56 F.3d 1147, 1155 (9th Cir. 1995) (creators
                                  7   of docudramas that mix fact and fiction “must attempt to avoid creating the
                                  8   impression that they are asserting objective facts”). The test is whether a
                                  9   reasonable viewer would understand the character to be the person
                                 10   identified and to have the characteristics as described. See Sarver, 2011
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                                 11   WL 11574477, at *8. Courts “must look to the specific context in which the
                                 12   statements were made and to the content of the statements themselves” to
                                 13   determine whether the speaker “creat[ed] the impression that they [were]
                                 14   asserting objective facts.” Partington, 56 F.3d at 1155.
                                 15
                                 16       In the last episode, the Series identifies Plaintiff in dialogue by a fictional
                                 17   commentator analyzing fictional character Beth Harmon’s likelihood of
                                 18   defeating a fictional chess champion. (FAC ¶¶ 41–42). Despite the
                                 19   presence of fiction surrounding the Line, however, the Court cannot ignore
                                 20   that the Series does reference real people and events and most importantly,
                                 21   the Line identifies a real person, Plaintiff, by name, references her real
                                 22   career, and then shows an actor sitting in the audience who resembles
                                 23   Plaintiff. (Id. ¶ 43). In other words, a “physical description,” “biographical
                                 24   references” and unique identifying characteristics which “would allow a
                                 25   reasonable person to conclude that the fictional [Nona Gaprindashvili] was
                                 26   in fact the real [Nona Gaprindashvili]” accompany the Line. Tamkin v. CBS

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                                  1   Broad., Inc., 193 Cal. App. 4th 133, 147 (2011). Not only does this close the
                                  2   gap between associating the supposedly fictional character with the real
                                  3   person, but regardless of whether viewers recognized Plaintiff’s name (as
                                  4   indeed, some did), viewers may reasonably have believed the comment to
                                  5   be one of these historical details incorporated into the Series.
                                  6
                                  7       The Court also considers the presence of the disclaimer that the Series
                                  8   is a work of fiction as a factor in this analysis, albeit not a dispositive one.
                                  9   Mossack Fonseca & Co. v. Netflix, Inc., No. 19-CV-9330-CBM (ASx), 2020
                                 10   WL 8510342, at *4 (C.D. Cal. Dec. 23, 2020). The cases that Defendant
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                                 11   cites on this point are distinguishable.
                                 12
                                 13       In Mossack, the court considered a film portraying a law firm that
                                 14   represented clients involved with money laundering, tax evasion, and other
                                 15   criminal conduct. 2020 WL 8510342, at *4. The court found that no
                                 16   reasonable viewer would believe the film was making “assertions of
                                 17   objective fact,” rather than a dramatization, “particularly given the statement
                                 18   at the beginning of the Film ‘BASED ON ACTUAL SECRETS’ which sets the
                                 19   stage and the disclaimer at the end of the Film that states the Film is
                                 20   fictionalized. . . .” Id. Here, the Series includes a similar disclaimer, but the
                                 21   Line resembles one of those factual details incorporated into the Series for
                                 22   believability more than it resembles the main plot devices, such as Beth
                                 23   Harmon, or the law firm, which are clearly fictional or at least dramatized. In
                                 24   De Havilland v. FX Networks, LLC, the court found that fictionalized
                                 25   interviews portrayed in the work would not reasonably be interpreted as
                                 26

                                                                              13
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                                  1   literal statements of the actual person, which has little bearing on the issues
                                  2   here. 21 Cal. App. 5th 845, 867–68.
                                  3
                                  4       Moreover, the Series purports to be set in a historical setting and does
                                  5   reference real people and events. (Decl. of Scott Frank (“Frank Decl.”), Dkt.
                                  6   21-7 ¶ 6). In context, therefore, Netflix “creat[ed] the impression that [it] was
                                  7   asserting objective facts.” Partington, 56 F.3d at 1155. Plaintiff sufficiently
                                  8   pleads falsity because the Line is “reasonably susceptible of an
                                  9   interpretation which implies a provably false assertion of fact.” Couch, 33
                                 10   Cal. App. 4th at 1500.
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                                 11
                                          2. Defamatory Meaning – Whether the Line Carries a Defamatory
                                 12
                                             Implication and Whether a Reasonable Viewer Would Have
                                 13          Understood a Defamatory Implication
                                 14       Netflix next argues that even if believed, the Line is not defamatory

                                 15   because a reasonable viewer would not conclude that the Line “never faced

                                 16   men” carries the implication of Plaintiff’s inferiority, the defamatory meaning

                                 17   attributed by Plaintiff. (Motion at 15).5 Netflix contends that this implication

                                 18   is inconsistent with the “Series’ portrayal of the structural barriers that

                                 19   impeded women’s advancement in elite chess during the 1960s.” (Motion at

                                 20   15). In other words, Netflix advances an interpretation that Nona

                                 21   Gaprindashvili “never faced men” not because she was inferior, but rather

                                 22
                                         5
                                 23        In the alternative, Netflix argues that even if the Line implies inferiority, that
                                         implication is statement of opinion rather than a “provably false factual as-
                                 24      sertion.” Motion 16–17. In doing so, Netflix confuses the question of de-
                                         famatory meaning with the element of falsity. The line between a statement
                                 25      of fact versus opinion is relevant for the latter. If Netflix concedes the Line
                                         carries the implication of inferiority, Plaintiff has adequately pleaded the el-
                                 26      ement of defamatory meaning.

                                                                                  14
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                                  1   because she had simply been impeded by the structural barriers depicted in
                                  2   the Series.
                                  3
                                  4       Defamation is an invasion of the interest in reputation. Gilbert v. Sykes,
                                  5   147 Cal. App. 4th 13, 27 (2007). A falsehood is defamatory if it “attribute[es]
                                  6   to a person specific misdeeds or certain unfavorable characteristics or
                                  7   qualities, or uttering certain other derogatory statements regarding a person,
                                  8   constitutes slander.” Nguyen-Lam v. Cao, 171 Cal. App. 4th 858, 867
                                  9   (2009). In addition to false statements that cause actual damage, the
                                 10   California Legislature has specified slander per se categories, which include
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                                 11   false and unprivileged publications that “tend[] directly to injure [a plaintiff]
                                 12   with respect to [her] profession, trade, or business.” Cal. Civ. Code § 46.
                                 13
                                 14       “If it is determined that the publication is susceptible of a defamatory
                                 15   meaning and also of an innocent and nondefamatory meaning it is for the
                                 16   jury to determine which meaning would be given to it by the average
                                 17   reader.” Patton v. Royal Indus., Inc., 263 Cal. App. 2d 760, 765 (1968).
                                 18   “The fact that an applied defamatory charge or insinuation leaves room for
                                 19   an innocent interpretation as well does not establish that the defamatory
                                 20   meaning does not appear from the language itself.” O’Connor v. McGraw-
                                 21   Hill, Inc., 159 Cal. App. 3d 478, 485 (1984); see also Solano, 292 F.3d at
                                 22   1084 (“[O]ur inquiry is not to determine whether the publication may have an
                                 23   innocent meaning but rather to determine if it reasonably conveys a
                                 24   defamatory meaning.”).
                                 25
                                 26

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                                  1       Here, the Line in context discusses why a male Russian chess master
                                  2   underestimated Beth Harmon. The commentator delivering the Line
                                  3   explains that Harmon’s gender is her most noteworthy characteristic but
                                  4   adds: “even [her gender is] not unique in Russia. There’s Nona
                                  5   Gaprindashvili, but she’s the female world champion and has never
                                  6   faced men. My guess is Laev was expecting an easy win . . . .” (FAC
                                  7   ¶ 63). The Line clearly conveys an import to the very feat of playing chess
                                  8   against men—not only because men were believed to be better at chess,
                                  9   but also because it was a monumental achievement to break into that world.
                                 10   Breaking these gender barriers is a primary theme of the Series, which
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                                 11   celebrates Harmon for doing just that. The Line also uses Plaintiff as a
                                 12   comparison point to Harmon, one with lesser achievements. An average
                                 13   viewer easily could interpret the Line, as Plaintiff contends, as “disparaging
                                 14   the accomplishments of Plaintiff” and “carr[ying] the stigma that women bear
                                 15   a badge of inferiority” that fictional American woman Harmon, but not
                                 16   Plaintiff, could overcome. (Opp. at 11). At the very least, the line is
                                 17   dismissive of the accomplishments central to Plaintiff’s reputation. Given
                                 18   Plaintiff’s allegations about the role Plaintiff’s reputation plays as a matter
                                 19   not merely of personal pride, but in her ongoing professional pursuits, such
                                 20   a falsehood “constitutes an injury to reputation,” that “tends directly to injure
                                 21   [Plaintiff] with respect to [her] profession, trade, or business.” Nguyen-Lam,
                                 22   171 Cal. App. 4th at 867; Cal. Civ. Code § 46.
                                 23
                                 24       Plaintiff further alleges that viewers did in fact attribute a defamatory
                                 25   meaning to the Line. (FAC ¶¶ 51–57). Such evidence, while not dispositive,
                                 26   supports how a “reasonable” viewer might have understood the Line. See

                                                                             16
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                                  1   Tah v. Global Witness Publishing, Inc., 413 F. Supp. 3d 1, 11–12 (D.D.C.
                                  2   2019), aff’d, 991 F.3d 231 (D.C. Cir. 2021), cert. denied, 2021 WL 5043599
                                  3   (Nov. 1, 2021). Because this falsehood tends to “directly to injure [her] in
                                  4   respect to [her] office, profession, trade, or business,” it qualifies as
                                  5   defamation per se. Balla v. Hall, 59 Cal. App. 5th 652, 675 (2021), review
                                  6   denied (Apr. 14, 2021) (quoting Civ. Code § 46(3)).
                                  7
                                  8       Netflix next argues that Plaintiff cannot establish defamation per se
                                  9   because understanding the alleged defamatory implication requires
                                 10   knowledge of competitive Soviet chess in the 1960s. (Motion at 19). Netflix
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                                 11   argues that the audience “would be able to recognize a defamatory meaning
                                 12   only by virtue of his or her knowledge of specific facts and circumstances,
                                 13   extrinsic to the publication, which are not matters of common knowledge
                                 14   rationally attributable to all reasonable persons,” making the claim
                                 15   defamation per quod, which unlike defamation per se, requires proof of
                                 16   special damages. McGarry v. Univ. of San Diego, 154 Cal. App. 4th 97, 112
                                 17   (2007).
                                 18
                                 19       Netflix cites Balla v. Hall to no avail. (Motion at 18 (citing Balla, 59 Cal.
                                 20   App. 5th 652)). In that case, the court held that a campaign advertisement
                                 21   for a politician implying that one of the council members supported the
                                 22   defendant candidate was not per se defamatory because for readers to
                                 23   perceive the advertisement as harmful, they would need to know who the
                                 24   defendant candidate was and his views within that specific community.
                                 25   Balla, 59 Cal. App. 5th at 690. The Court disagrees that understanding the
                                 26   negative implication of the Line requires any specific knowledge of chess

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                                  1   history. The statement that a politician supports another political candidate
                                  2   is neutral unless one understands details about both politicians’ positions
                                  3   and their constituencies. In contrast, the defamatory implication of a
                                  4   statement denying a person’s notable accomplishments in the world of their
                                  5   profession requires no specific knowledge. Moreover, injury to one’s
                                  6   professional reputation is an enumerated per se category in the California
                                  7   Civil Code. Cal. Civ. Code § 46(3).
                                  8
                                  9       3. Substantial Truth Defense
                                 10       The substantial truth defense protects allegedly defamatory speech
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                                 11   where “the imputation is substantially true so as to justify the ‘gist or sting’ of
                                 12   the remark,” even if there is “slight inaccuracy in the details.” Heller v.
                                 13   NBCUniversal, Inc., No. 15-CV-09631-MWF (KSx), 2016 WL 6583048, at *4
                                 14   (C.D. Cal. June 29, 2016) (citing Summit Bank v. Rogers, 206 Cal. App. 4th
                                 15   669, 697 (2012)). An allegedly defamatory statement “is not considered
                                 16   false unless it would have a different effect on the mind of the reader from
                                 17   that which the pleaded truth would have produced.” Masson v. New Yorker
                                 18   Magazine, Inc., 501 U.S. 496, 516–17 (1991).
                                 19
                                 20       Netflix argues the substantial truth defense bars Plaintiff’s claims
                                 21   because “[a] reasonable viewer would have interpreted the Line in context
                                 22   to refer to Plaintiff’s never facing male players at significant tournaments in
                                 23   the Soviet Union before 1968.” (Motion at 21). Even if the Line would be
                                 24   interpreted in this fashion, Plaintiff alleges her “notable successes against
                                 25   men began with her successful entry into the Challengers Section of the
                                 26   Hastings International Chess Congress in England in 1963, which she won,

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                                  1   defeating several male players.” (FAC ¶ 21). Plaintiff further alleges
                                  2   multiple other notable successes against men in significant tournaments
                                  3   before 1968. (Id. ¶¶ 22–24). The pleaded truth would have an entirely
                                  4   different “effect on the mind of the reader,” Masson, 501 U.S. at 516–17, as
                                  5   the truth would have portrayed Plaintiff as a trailblazer that Beth Harmon
                                  6   followed, or another woman chess player on a parallel path. Instead, the
                                  7   reference to Plaintiff serves to elevate Harmon as being peerless in her
                                  8   achievement of “facing men.”
                                  9
                                 10       4. Actual Malice Requirement
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                                 11       As a public figure, Plaintiff must plead “actual malice,” that is, that Netflix
                                 12   published the defamatory statement “with knowledge that it was false or with
                                 13   reckless disregard of whether it was false or not.” Reader’s Dig. Ass’n. v.
                                 14   Superior Ct., 37 Cal. 3d 244, 256 (1984) (citing New York Times Co. v.
                                 15   Sullivan, 376 U.S. 254, 280 (1964)).
                                 16
                                 17       “When the expressive work at issue is fiction, or a combination of fact
                                 18   and fiction, the ‘actual malice’ analysis takes on a further wrinkle.” De
                                 19   Havilland, 21 Cal. App. 5th at 870. After all, “[p]ublishing a fictitious work
                                 20   about a real person cannot mean the author, by virtue of writing fiction, has
                                 21   acted with actual malice.” Id. Recognizing this, California courts require
                                 22   plaintiffs to demonstrate “that [the defamatory statement] either deliberately
                                 23   cast [plaintiff] . . . in an equivocal fashion in the hope of insinuating a
                                 24   defamatory import to the reader, or that [defendant] knew or acted in
                                 25   reckless disregard of whether [its] words would be interpreted by the
                                 26   average reader as defamatory statements of fact.” Id. (quoting Good

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                                  1   Government Group of Seal Beach, Inc. v. Superior Court, 22 Cal.3d 672,
                                  2   684 (1978)).
                                  3
                                  4       Plaintiff alleges the text on which the Line was based adapted from the
                                  5   Tevis Novel states: “There was Nona Gaprindashvili, not up to the level of
                                  6   this tournament, but a player who had met all these Russian Grandmasters
                                  7   many times before.” (FAC ¶ 62). In the declaration of show creator Frank
                                  8   Scott, attached to the Motion, Frank concedes to altering the Line from this
                                  9   text on which he based the plot of the Series. (Frank Decl. ¶¶ 17–18). The
                                 10   fact that the creators based the Line on text which states that Plaintiff had
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                                 11   not only faced the male Russian Grandmasters, but had in fact faced them
                                 12   “many times before,” strongly indicates actual knowledge of the falsity of the
                                 13   statement. Particularly in light of the text from the Novel, Netflix’s argument
                                 14   that it conducted diligent research and “believed [the Line] to be accurate,”
                                 15   (Frank Decl. ¶ 15), is unavailing because either the show creator knew the
                                 16   truth and ignored it, or he “deliberately decided not to acquire knowledge off
                                 17   acts that might confirm the probable falsity of [the Line].” McGarry, 154 Cal.
                                 18   App. 4th at 114. For this reason, Netflix’s argument that it relied on two
                                 19   chess experts to confirm the historical chess details of the screenplay
                                 20   adaptation is also unavailing. (Motion at 3). Plaintiff’s allegations and
                                 21   submitted declarations demonstrate that “[a]nyone who is at all familiar with
                                 22   the game [of chess] and its history knows of Nona Gaprindashvili” and that
                                 23   “[a]ny simple Google search” would have revealed the truthful information.
                                 24   (Decl. of Nicholas Carlin (“Carlin Decl.”), Dkt. 28-2 ¶¶ 6, 7).
                                 25
                                 26

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                                  1       Even considering the fictional nature of the novel and the Series, the
                                  2   decision to use the Line at best demonstrates “that [Netflix] knew or acted in
                                  3   reckless disregard of whether [its] words would be interpreted by the
                                  4   average reader as defamatory statements of fact.” De Havilland, 21 Cal.
                                  5   App. 5th at 870 (quoting Good Government Group, 22 Cal.3d at 684).
                                  6   Although Frank declares he “believed [the Line] to be accurate” and
                                  7   “intended to honor [Plaintiff], not disparage her,” (Frank Decl. ¶ 15), the
                                  8   inclusion of the Line evinces a reckless disregard that viewers would
                                  9   interpret the Line as defamatory. See supra section II.C.2.
                                 10
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                                 11                             III.   MOTION TO STRIKE
                                 12       Netflix moves to strike the FAC on the grounds that it attacks Netflix’s
                                 13   constitutionally protected free speech rights in violation of California’s anti-
                                 14   SLAPP statute. Cal. Civ. P. § 425.16.
                                 15
                                 16     A. Legal Standard
                                 17       California’s anti-SLAPP statute “provides for the early dismissal of
                                 18   certain unmeritorious claims that are brought to thwart constitutionally
                                 19   protected speech or petitioning activity.” Robinzine v. Vicory, 143 Cal. App.
                                 20   4th 1416, 1420–21 (2006). An anti-SLAPP motion is available to
                                 21   defendants in federal court. Graham-Sult v. Clainos, 756 F.3d 724, 735 (9th
                                 22   Cir. 2014).
                                 23
                                 24       A SLAPP suit is “a meritless lawsuit filed primarily to chill the defendant’s
                                 25   exercise of First Amendment rights.” Paul v. Friedman, 95 Cal. App. 4th
                                 26   853, 861 (2002). California's anti-SLAPP statute allows a defendant to

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                                  1   move to dismiss “certain unmeritorious claims that are brought to thwart
                                  2   constitutionally protected speech or petitioning activity.” Robinzine,143 Cal.
                                  3   App. 4th at 1420–21. To prevail on such a motion, Netflix must make a
                                  4   threshold showing that the challenged cause of action in fact “arise[s] from
                                  5   an act in furtherance of the defendant's rights of petition or free speech.”
                                  6   Graham-Sult, 756 F.3d at 735 (internal quotations and citation omitted). If
                                  7   Netflix makes that showing, the burden shifts to plaintiff to show that it has
                                  8   “a reasonable probability of prevailing in its claims for those claims to
                                  9   survive dismissal.” Id.; Cal. Code Civ. P. § 425.16(b)(1). “In making its
                                 10   determination [on an anti-SLAPP motion], the court shall consider the
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                                 11   pleadings, and supporting and opposing affidavits stating the facts upon
                                 12   which the liability or defense is based.” Cal. Civ. Proc. Code § 425.16(b)(2).
                                 13   The plaintiff must meet its burden of proving a prima facie case “with
                                 14   admissible evidence.” Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 840
                                 15   (9th Cir. 2001); see also Sweetwater Union High Sch. Dist. v. Gilbane Bldg.
                                 16   Co., 6 Cal. 5th 931, 940 (2019).
                                 17
                                 18     B. Evidentiary Objections
                                 19       Netflix submitted two evidentiary objections to the additional exhibit
                                 20   submitted by Plaintiff (Dkt. 30) in support of her opposition to Netflix’s
                                 21   Motion to Strike. (Dkt. 33). The Court has not found it necessary to rely on
                                 22   those statements for purposes of this Order, and therefore declines to rule
                                 23   on the objections.
                                 24
                                 25     C. Arises from Protected Activity
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                                  1       A cause of action arises from protected activity within the meaning of
                                  2   section 425.16 if: “(1) defendants’ acts underlying the cause of action, and
                                  3   on which the cause of action is based, (2) were acts in furtherance of
                                  4   defendants’ right of petition or free speech (3) in connection with a public
                                  5   issue.” Tamkin v. CBS Broad., Inc., 193 Cal. App. 4th 133, 142–43 (2011).
                                  6   Plaintiff does not contest the first prong, and Netflix has made the required
                                  7   showing that its speech arises form protected activity. First, the act that
                                  8   forms the basis of the claim is the Line in the Series. Second, this act was
                                  9   in furtherance of Netflix’s right of free speech. See id. at 143 (“The creation
                                 10   of a television show is an exercise of free speech.”). Third, the speech was
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                                 11   in connection with a public issue, as it features a portrayal of historical
                                 12   gender inequality in the chess world. Accordingly, the cause of action arises
                                 13   from protected activity and falls under California’s anti-SLAPP protections,
                                 14   which requires the Court to consider the second prong, Plaintiff’s reasonable
                                 15   probability of success on the merits.
                                 16
                                 17     D. Plaintiff’s Reasonable Probability of Success on Merits
                                 18       A court’s inquiry at the second prong “is limited to whether the plaintiff
                                 19   has stated a legally sufficient claim and made a prima facie factual showing
                                 20   sufficient to sustain a favorable judgment.” Med. Marijuana, Inc. v.
                                 21   ProjectCBD.com, 46 Cal. App. 5th 869, 882 (2020). For the reasons
                                 22   discussed above in section II.C., Plaintiff states a legally sufficient claim of
                                 23   defamation per se. The Court next considers whether Plaintiff has made a
                                 24   sufficient prima facie factual showing of admissible evidence.
                                 25
                                 26

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                                  1      Plaintiff submits admissible evidence sufficient to demonstrate falsity of
                                  2   the Line and to defeat Netflix’s defense of substantial truth. (See
                                  3   Gaprindashvili. Decl.). As to evidence of the Line’s defamatory meaning,
                                  4   along with allegations of the Line in context, Plaintiff submits evidence that
                                  5   viewers did in fact interpret the Line as defamatory. (Declaration of
                                  6   Alexander Rufus-Isaacs (“Rufus-Isaac’s Decl.”) Dkt. 28-6 ¶¶ 3–10; Rufus-
                                  7   Isaac’s Decl. Ex. 6–11, Dkts. 28-7–28-14). This evidence, though not
                                  8   dispositive, supports the allegation that a “reasonable” viewer would believe
                                  9   the line to be defamatory. See Tah, 413 F. Supp. 3d at 11–12.
                                 10
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                                 11      Plaintiff further submits evidence supporting the element of actual
                                 12   malice, including a declaration by chess master Nicholas Carlin that
                                 13   “[a]nyone who is at all familiar with the game [of chess] and its history
                                 14   knows of Nona Gaprindashvili. She was very famous for the fact that she
                                 15   was one of the few women . . . who played in tournaments with men at the
                                 16   top level.” (Carlin Decl. ¶ 6). As discussed above, Netflix’s own evidence
                                 17   demonstrates knowledge of the truth in its choice to deviate from the text of
                                 18   the Novel, which states that Plaintiff had faced the male Russian
                                 19   Grandmasters “many times before.” (See Frank Decl. ¶ 15). Plaintiff further
                                 20   refutes evidence that Netflix relied on chess experts and conducted good
                                 21   faith research, because (1) Plaintiff was well-known in the chess world such
                                 22   that the information would be common knowledge; (2) “[a]ny simple Google
                                 23   search” would reveal the truthful information; and (3) the information was
                                 24   readily available on multiple common websites, as well as common chess-
                                 25   related sites. (Carlin Decl. ¶ 7; Carlin Decl. Ex. 2, Dkt. 28-4 (Nona
                                 26   Gaprindashvili’s Wikipedia page). Plaintiff has made a prima facie factual

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                                  1   showing sufficient to sustain a favorable judgment; evidence that Netflix fails
                                  2   to overcome at this stage.
                                  3
                                  4       Accordingly, the Court DENIES Netflix’s motion to strike.
                                  5
                                  6                                 IV.   CONCLUSION
                                  7       The Court therefore DENIES Netflix’s Motion to Dismiss and DENIES
                                  8   Netflix’s Motion to Strike.
                                  9
                                 10
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                                 11   IT IS SO ORDERED.
                                 12
                                 13       Dated:     1/27/22
                                 14                                                           Virginia A. Phillips
                                                                                         United States District Judge
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